                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 1:15-cr-23-PLR-SKL
 v.                                                  )
                                                     )
 JAMES ALLEN SEXTON                                  )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the

 thirteen-count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment;

 (3) adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer

 a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

 remain in custody until sentencing in this matter [R. 186]. Neither party filed a timely objection

 to the report and recommendation.      After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation.           Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation [R. 186] pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

                the Indictment;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until

                sentencing; and




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       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on November 10, 2015 at 10:30 a.m. before the

             Honorable Pamela L. Reeves.

       SO ORDERED.

       ENTER:



                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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